                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA )
                         )                    Case No. 1:99CR00075
                         )
v.                       )                           OPINION
                         )
ELLIOT JOHNSON,          )                    By: James P. Jones
                         )                    United States District Judge
           Defendant.    )

     Jennifer R. Bockhorst, Assistant United States Attorney, Abingdon, Virginia
for United States; Nancy C. Dickenson, Assistant Federal Public Defender,
Abingdon, Virginia, for Defendant.

      The defendant, Elliot Johnson, has filed a Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. § 2255, arguing that his enhanced sentence

as a career offender under United States Sentencing Guidelines (“U.S.S.G.”)

§§ 4B1.1 and 4B1.2, is unlawful. I stayed his case pending resolution by the

United States Court of Appeals for the Fourth Circuit in United States v. Brown,

which has now been decided.1 868 F.3d 297 (4th Cir. 2017). After consideration

of the record and applicable case law, I conclude that Johnson’s motion must be

dismissed as untimely.

      Johnson was charged in an Superseding Indictment with possession with

intent to distribute and distribution of cocaine base within 1000 feet of a school

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         Brown filed a petition for rehearing and rehearing en banc following the panel
decision. United States v. Brown, No. 16-7056 (4th Cir. Oct. 5, 2017). The Fourth
Circuit denied the petition on February 26, 2018.


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zone, in violation of 21 U.S.C. §§ 841(a)(1) and 860(a). He proceeded to trial and

was found guilty.        Johnson’s Presentence Investigation Report (“PSR”)

recommended that he receive an increased sentence because he qualified as a

career offender in that he had “at least two prior felony convictions of either a

crime of violence or a controlled substance offense,” pursuant to U.S.S.G. § 4B1.1.

PSR ¶ 25, ECF No. 53. The predicate offenses supporting his status as a career

offender included a prior conviction for drug distribution and a prior conviction for

possession of a sawed off shotgun. Id. ¶¶ 41 and 48. On May 23, 2000, I

sentenced Johnson to a total of 262 months’ incarceration, after concluding that he

was a career offender. Johnson appealed, and the Fourth Circuit affirmed his

conviction and sentence. United States v. Johnson, 246 F.3d 330, 335 (4th Cir.

2001).

      In this § 2255 Motion, Johnson challenges the constitutionality of former

U.S.S.G. § 4B1.2(a), which defined a “crime of violence,” in part, as an offense

that “otherwise involves conduct that presents a serious potential risk of physical

injury to another,” referred to as the “residual clause.” He bases his argument on

Johnson v. United States, 135 S. Ct. 2551, 2563 (2015), in which the Supreme

Court held that an identically worded residual clause in a federal statute, 18 U.S.C.

§ 924(e)(2)(B), was unconstitutionally vague and could not be used to increase a

defendant’s sentence. However, Johnson’s argument that his crime of violence


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conviction no longer supports his career offender status because the residual clause

in the Guidelines is unconstitutional, is foreclosed by Beckles v. United States, 137

S. Ct. 886 (2017). The Supreme Court held that the Guidelines are not subject to a

similar constitutional challenge as they merely “guide the exercise of a court’s

discretion” and do not “fix the permissible range of sentences” that a defendant

faces. Id. at 892.

      Nonetheless, Johnson argues that my determination that he qualified as a

career offender is governed by Johnson, not Beckles. Johnson was sentenced pre-

Booker under a mandatory Guidelines scheme. United States v. Booker, 543 U.S.

220, 245 (2005) (holding, in order to avoid a constitutional violation, that the

Sentencing Guidelines are advisory and not mandatory). Accordingly, he argues

that the mandatory Guidelines, which fixed his sentencing range, acted as the

functional equivalent of a statutorily imposed sentence, and as a result, the

reasoning of Johnson applies. Suppl. Mem. Supp. § 2255 Mot. 4-5, ECF No. 40.

      The Beckles court did not address whether a constitutional infirmity might

arise in circumstances where a defendant was sentenced under the mandatory

Guidelines regime that existed prior to Booker. The Fourth Circuit, in Brown, was

faced with just such a situation, and ultimately concluded that the defendant was

not entitled to relief because on collateral review, he could not overcome the

stringent timeliness hurdle required by 28 U.S.C. § 2255. 868 F.3d at 299.


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      Usually, a defendant must file a motion under § 2255 within one year from

the date on which the defendant’s judgment became final. 28 U.S.C. § 2255(f)(1).

However, the statute allows for an additional one-year period to run when a

defendant relies on a rule of constitutional law newly recognized by the Supreme

Court, starting from “the date on which the right asserted was initially recognized

by the Supreme Court.” Id. § 2255(f)(3). The Brown court concluded that in

neither Johnson nor Beckles had the Supreme Court expressly recognized the right

of a defendant to obtain relief who was sentenced as a career offender under a

mandatory Guideline regime. 868 F.3d at 302. By leaving open that question, the

Supreme Court failed to recognize a new right in the mandatory Sentencing

Guideline context. Id. Accordingly, a defendant sentenced as a career offender

under the mandatory Guidelines could not rely on the additional one-year

limitations period in § 2255(f)(3). Id.

      Johnson was sentenced in 2000 and his judgment became final following the

denial of his appeal in 2001. He did not file this § 2255 petition until 2016, 15

years after his judgment became final. Accordingly, his petition is time barred and

must be dismissed.

      A separate Final Order will be entered forthwith.

                                                DATED: March 12, 2018

                                                /s/ James P. Jones
                                                United States District Judge

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